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Counsel to Pierce Robertson


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :   Chapter 11
                                                               :
VOYAGER DIGITAL HOLDINGS, INC., et al., :                          Case No. 22-10943 (MEW)
                                                               :
                                                               :   (Jointly Administered)
                  Debtors.                                     :
---------------------------------------------------------------x

                                      CERTIFICATE OF SERVICE

  STATE OF CALIFORNIA                         )
                                              )
  CITY OF SAN FRANCISCO                       )

        I, Patricia Jeffries, am employed in the city and county of San Francisco, State of

California. I am over the age of 18 and not a party to the within action; my business address is

One Market Plaza, Spear Tower, 40th Floor, San Francisco, CA 94120-1020.

        On September 21, 2022, I caused to be served the below documents via: (i) electronic

mail, on the parties identified on the Master Email Service List attached hereto as Exhibit A;
and (iii) First Class Mail on the parties identified on the Master Service List attached hereto

as Exhibit B:

          Objection of Pierce Robertson to Disclosure Statement Relating to the
           First Amended Joint Plan of Reorganization of Voyager Digital
           Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the
           Bankruptcy Code [Docket No. 443]

       I declare under penalty of perjury, under the laws of the State of California and the

United States of America that the foregoing is true and correct.

       Executed on September 21, 2022, at San Francisco, California.

                                                      /s/ Patricia Jeffries
                                                      Patricia Jeffries




                                                 2
                                         EXHIBIT A

                                      (Service By Email)

AD HOC GROUP OF EQUITY          AD HOC GROUP OF EQUITY           ALAMEDA RESEARCH LLC
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                                             5
                                                   EXHIBIT B

                                        (Service by U.S. First Class Mail)

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